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                     ORAL ARGUMENT NOT YET SCHEDULED

                   IN THE UNITED STATES COURT OF APPEALS
                   FOR THE DISTRICT OF COLUMBIA CIRCUIT

UNITED STATES STEEL CORPORATION, et
al.,
                                                                   No. 25-1004
                   Petitioners,

              v.

COMMITTEE ON FOREIGN INVESTMENT
  IN THE UNITED STATES, et al.,

              Respondents.


    AMENDED RULE 26.1 CORPORATE DISCLOSURE STATEMENT

          Pursuant to Federal Rule of Appellate Procedure 26.1 and D.C. Circuit Rule

26.1, Petitioner United States Steel Corporation (U. S. Steel) states that Nippon Steel

North America, Inc., owns 100% of its common stock and Nippon Steel North

America, Inc.’s parent corporation is Nippon Steel Corporation. U. S. Steel will issue

a Golden Share to the United States that will give the government certain specified

rights.

Dated: June 20, 2025
                                                  /s/ Andrew J. Pincus
                                                  Andrew J. Pincus
                                                  MAYER BROWN LLP
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                                                  Washington, DC 20006
                                                  (202) 263-3000
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                         CERTIFICATE OF SERVICE

      I hereby certify that on June 20, 2025, I filed the foregoing with the Clerk of

the Court for the United States Court of Appeals for the District of Columbia Circuit

by using the CM/ECF system which will serve all counsel of record.

                                          /s/ Andrew J. Pincus
                                              Andrew J. Pincus
